Case 1:17-cv-24184-.]E|\/| Document 1-2 Entered on FLSD Docl<et 11/15/2017 Pngellob£Q

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FORM 1.997. C|VlL COVER SHEET

The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
or other documents as required by law. This form must be filed by the plaintiff or petitioner forthe use of the Clerk of
Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for
completion.)

 

CASE STYLE

|N THE ClRCUlT COURT OF THE ELEVENTH JUDIC|AL C|RCU|T,
lN AND FOR MIAMI-DADE COUNTY, FLORlDA

 

 

Case No.:
Judge:
Omain`lys Cruz A.goute
Plaintiff
vs.
Akima Global Services LLC.
Defendant
||. TYPE OF CASE
§ Non-homestead residential foreclosure
§ Condominium $250,00 or more
§ Contracts and indebtedness § Oth€r real property actions $0 - $50.000
g Eminent domain § Other real property actions $50,001 - $249,999
§ Auto negligence § Other real property actions $250,000 or more
§ Negligenee - other , .
ij Bu$iness governance § Professioriai malpractice
§ Bu$iness torts § Nla|practice - business
§ Environmenta|/Toxic tort -E~ Malpmctice " med’°a' _
ij Third party indemnification § Malpractice - other professional
§ Construction defect § Other _ l
g Mass ton § Antitrust/Trade Regulation
§ Negiigent security § Business Transaction
§ Nuising home negligence g circuit civil - Not Appiicabie
§ premises iiabiiity _ Commeiciai § Cor_istitutiona| challenge-statute or
§ Premises liability - residential ordma.nc.e
m Producis iiabiiiry § Constcirtutiorial challenge-proposed
~_ amen men
§ Rea| Prcperty/Nlortgage foreclosure i;i Corporare .i_rusts
§ Commercial foreclosure $O - $50,000 § Di$crirriinaiion_empioyment or other
§ Commercial foreclosure $50,001 ~ $249,999 i:i insurance Ciairrrs
§ Commercia| foreclosure $250,000 or more E inieiiecruai properiy
§ Homestead residential foreclosure $0 - 50,000 Ei' i_ibei/Siarrder
§ :§Arfrgie;;;ad residential foreclosure $50,001 - g Sharehoider derivative action
§ Homestead residential foreclosure $250,000 or g Securmes ‘mgat'°n
more § Trade secrets
§ Non-homestead residential foreclosure $0 - -l;]~ T""St "t‘gat'°"
$50,000
§ Non-homestead residential foreclosure

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$50,001 - $249, 999

 

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COMPLEX BUS|NESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes § No §

||l. REMED|ES SOUGHT (check all that apply):

§ Monetary;
§ Non-monetary declaratory or injunctive relief;
§ Punitive
lV. NUMBER OF CAUSES OF ACT|ON: ( )
(Sp€€ify>
g

V. lS THIS CASE A CLASS ACTION LAWSU|T?
§ Yes

§No

Vl. HAS NOT|CE OF ANY KNOWN RELATED CASE BEEN F|LED?
No
§ Yes - lf "yes” list all related cases by name, case number and court:

Vll. |S JURY TRlAL DEMANDED lN COMPLA!NT?
§ Yes
§ No

 

l CERT|FY that the information l have provided in this cover sheet is accurate to the best of my knowledge and belief. and
that l have read and will comply with the requirements of F|orida Rule of Judicial Administration 2.425.

Signature s/ Charles Eiss FL Bar No.: 6`12073
Attorney or party (Bar number, if attomey)

Charles Eiss 10/03/20`17
(Type or print name) pate

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lN THE CIRCUIT COURT OF THE
ll"l`.H JUDICIAL CIRCUIT IN AND FOR
MIAMI-DA.DE COUNTY, `FLORIDA

 

CASE NO.:

OMAIRILYS CRUZ APONTE,

Plaintift`,
v.
AKIM`A G.LOB AL SE`RVICES, L'LC.,

Defendant.

/
COMPLAINT

Plairitifl`, OMAI`RI`LYS CRUZ APO.NTE (hereinatter, "`Plaintift"), by and through her
undersigned attorney hereby files her Complaint, and sues Def`endant, AKIM`A GLOBAL
SERVICES, LLC. (hereiriafter "AKIMA" or "Defendant") as follows:

JURIS`DICTION AND VE`N`U_E
l. This is an action for damages under the Florida Civil Rights Act (“FCRA”), Fla. Stat. §

760.0l el seq. (2017), for employment discrimination on the basis of disability or

handicap, `in violation ot`.Florida law,

2. The amount in dispute exceeds the sum of $15,000.00, exclusive of interest, costs, and
attorney’s fees

3. Plaintift` is a resident of Broward, Florida over the age of eighteen years and otherwise sui
juris.

4. Det`endant is a A.rkansas corporation with its principal address located in Virginia and is
and has been conducting substantial business within Flon`da and is subject to the laws of

the State of` Florida.

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5. Venue is proper in this court pursuant to Florida Statutes § 47.011 in that the actions
which give rise to this suit occurred in Miami-Dade County, specifically at the Krorne
Detention Center.

PARTIES

6. Plaintiff is a member of a class protected under the FCRA because the terms, conditions,
and privileges of her employment Were altered because of her disability/handicap

7. Plaintit`f, at all times relevant hereto, worked for Defendant at the Krome Detention
Center in .l\/.[iarni, Florida.

8. Det`endant has, at all times material, employed 15 or more employees for each working
day in each of twenty or more calendar weeks in the current or preceding year in
accordance with the FCRA (Fla. Stat. § 760.02(7)).

9. P|aintiff has exhausted her administrative remedies by filing a timely charge of
discrimination ("Charge") against the Defendant with the Equal Employment
Opportunity Commission which was dually filed with the Fiori da Cominission on Human
Relations.

lO. Plaintit`f"s Charge was filed on or about J'anuary 12, 2017. The actions complained of
herein occurred no more than 365 days before that date and/or continued from that date
stemming from the same actions set forth in the Charge.

ll. The Florida Commission on Human Relations did not issue a finding on Plaintit`t"s
charge within 180 days of the filing of said charges Plaintift` therefore brings this
Cornplaint under the provisions of § 760.1 1(8), Florida Statutes.

12. A_ll other conditions precedent to this action have been performed or have been waived

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GENERAL A_LLEGATIONS

13. Det`endant is a corporation primarily involved in supplying personnel at detention centers
nationwide

14. Plaintiii` CRUZ APONTE began her employment in 2008 as a `.Detention Ofticer at the
Krome `Detention Facility.

lS. At all times1 Plaintiff was employed in a full-time capacity and was issued a W-2 by
Det`endant for each year for which she was employed

16. In September 2015, CRUZ APONTE began suffering from chronic back pain due to a
herniated disc. As a result, Plaintif’f needs regular and periodic epidural injections in
order to relieve the pain.

17. CRUZ APONTE’s condition substantially limits one or more major life function,
including standing, stooping, bending, etc. without pain.

18. Plaintift` took leave pursuant to the Family and Medical Leave Act (FMLA) from
September 22, 2015 through the beginning of January 2016 related to her back condition l

19. With regular treatments, CRUZ APONTE was able to perform ail the essential functions
of her job and did complete those functions upon her return to Work in January 20`|6.

20. l`n order to receive these treatments, CRUZ APONTE needed time off from work to see
her doctor and notified her employer when she needed to be absent to receive said
treatment

21. In the Sumrner/Fall of 2016, C,RUZ A.PONTE’s pain became more frequent As a result,
Plaintitf was set to have lumbar surgery on `.November 8, 20l6 and would need to be out

of work until November 22, 2016.

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. Throughout this time, Plaintifl` kept her employer advised on her condition and medical

needs. However, on November 18, 2016, .Defendant denied .Plaintiii" s request for time off
from work for her surgery and terminated CRUZ APONTE claiming that she had taken
too much time off from woii< under the company’s attendance policy.

Defendant’s denial of Plaintifl`s leave requests in October and November 20`|6 and
termination for “excessive absences” were denials of requests for reasonable
accommodations under the FCRA and discriminatory

`AP/DISABILTY `Dl`SC.RI'M.INATI()N UNDER THE FCRA

   

. Plaintiii` reasserts her allegations in paragraphs 1-23, above, as if fully re-wn'tten herein

. Section 760. 10 of the FCRA states in relevant paitz

(].) it is unlawful employment practice for an employer:

(a) to discharge or to fail or refuse to hire any individual, or otherwise to discriminate
against any individual with respect to compensation, terms, conditions, or
privileges of employment1 because of such individuals race, color, religion, sex_
natural origin, age, handicap, or marital status

The FCRA accordingly prohibits employers from taking adverse employment action
against an employee as a result of her actual handicap/disability

The adverse and disparate treatment to which Plaintiff was subjected by Defendant,
including but not limited to, her termination, as set forth above, was the direct and
proximate result of Plaintit`t‘s actual handicap(s)/disability/disabilities. which
substantially limited her in one or more major life activities, and/or Plaintift‘s record of
having such handicap(s)/disability/disabilities.

Defendant failed/refused to reasonably accommodate `Plaintifi‘s actual

handicap(s)/disability/disabilities as required by law, leading to Plaintiti‘s termination

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31.

Defendant terminated CRUZ APON'I`E for absences which should have been considered
excused as a reasonable accommodation to her disability There was no other valid, legal
reason for her termination

Even if Defendant could assert legitimate reasons for its adverse and disparate treatment
of Plaintiff, which reasons it did not/does not have, Plaintifl‘s actual
handicap(s)/disability/disabilities and/or Plaintiff's record of having such a
handicap/disability/disabilities were, at minimum, motivating factors for Defendant's
termination of CRUZ APONTE’s employment

As a result of the discriminatory conduct to which P|aintiff was subjected, Plaintiff has
experienced, and will continue to experience, significant financial and economic loss in
the form of lost wages and lost benefits Piaintiff has also experienced, and Will continue
to experience, emotional anguish, pain and suffering and loss of dignity damages
Plaintiff accordingly demands lost economic damages, lost wages, back pay, interest,
front pay (or reinstatement), the value and/or economic impact of lost benefits/seniority,

and compensatory damages

. Plaintiff further seeks her attomey's fees and costs as permitted by law

WHEREFORE, Plaintiff OMAlRlLY`S CRUZ A`PO`NTE requests judgment against

Defendant as follows:

a) an award of economic damages including lost wages, back pay, interest, front
pay, and the value and/or economic impact of lost benefits;

b) compensatory damages;

c) punitive damages;

d) attomey's fees and costs; and

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33.

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e) any other award this Court deems necessary

COUNT TWO:
HANDICAP/DISABILTY DISCRIMINATION UNDER THE FCRA

§FAILURE TO ACCOMMODATE[

Plaintiff reasserts her allegations in paragraphs 1»23, above, as if fully re-written herein

 

Section 760.`10 of the FCRA states in relevant part:

(‘l) it is unlawful employment practice for an employer:

(a) to discharge or to fail or refuse to hire any individual, or otherwise to discriminate
against any individual with respect to compensation, terms, conditions, or
privileges of employment, because of such individuals race, color, religion, sex,
natural origin, age, handicap, or marital status

The `FCRA accordingly requires employers to reasonably accommodate the actual

handicaps/disabilities and/or records of such handicaps/disabilities of their employees

. The denial of `Plaintiff’s accommodation request_. as set forth above, was the direct and

proximate result of Plaintiff's actual handicap(s)/disability/disabilities, which
substantially limited her in one or more major life activities, and/or Plaintiffs record of
having such handicap(s)/disability/disabilities.

Defendant failed/refused to reasonably accommodate `Plaintiffs actual
handicap(s)/disability/disabilities as required by law, leading to 'Plaintiff‘s termination,
despite being presented with a request for a reasonable accommodation by Plaintiff.
Plaintiff"s request would not have imposed an undue burden on Plaintiff as what she
needed was tantamount to a modified work schedule and/or brief period of leave for a
medical procedure

The modified work schedule and brief period of leave (which had a certain time frame)

would have enabled .Plaintiff to perform the essential functions of her position

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40. Defendant's alleged reason(s) for denying Plaintiff’s requests, if any, are pretextual
Defendant failed to modify its own no-fault policy to accommodate Pla.intiff as a person
with a disability, and terminated her employment

41. Even if .Defendant could assert legitimate reasons for its failure to accommodate .Plaintiff,
CR`U`Z APONTE’s disability and/or record of having such a
handicap/disability/disabilities were, at minimum, motivating factors for Defendant‘s
failure to accommodate

42. As a result of Defendant‘s failure/refusal to accommodate Plaintifl`, Plaintifl` has
experienced, and will continue to experience, significant financial and economic loss in
the form of lost wages and lost benefits `Plaintiff has also expen' enced, and will continue
to experienced emotional anguish., pain and suffering and loss of dignity damages
Plaintift` accordingly demands lost economic damages, lost wages, back pay, interest,
front pay (or reinstatement), the value and/or economic impact of lost benefits/seniority
and compensatory damages

43. Plaintiff further seeks her attomey's fees and costs as permitted by law.

WHEREFO`.RE, Plaintiff OMA_lRl'LYS CRUZ APONTE requests judgment against
Defendant as follows;
a) an award of economic damages including lost wages, back pay, interest front
pay_, and the value and/or economic impact of lost benefits;
b) compensatory damages;
c) punitive damages;
d) attorney's fees and costs; and

e) any other award this Court deems necessary

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DEMAND FOR JU.RY TRIAL

Plaintiff, OMAlRILYS CRUZ APONTE hereby demands trial by jury on ail counts so

triable contained herein

`Dated: October 3, 2017.

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EISS MASSILLON, P.L.
Attorneys for Plaintiff

7951 SW 6th Street, Suite 308
_Plantation, Floii.da 33324
(.<)54) 914-7890 (Telephone)
(855) 423-5298 O=acsimile)

/s/ Lindsav Marie Massillon
CHARLES M. EISS, `Esq.

Fla_ Bar #612073
Chuck@eissmassillon.com
LINDSAY M. _M,ASSILLON, Esq.
Fla. Bar #92098
Lindsay@eissmassillon.com

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N lN THE ClRCUlT COURT OF THE ELEVENTH JUD|C|AL ClRCUlT lN AND FOR MlAM|-DADE COUNTY, FLOR|DA.
l_'_l |N THE COUNTY COURT |N AND FOR NI|AMl~DADE COUNTY, FLOR|DA.

 

 

 

 

 

 

 

D'V‘S'ON suMMoNs 20 oAY coRPoRATE sEercE cASE NUMBER

list cler i:i orHER (a) GENERAL FORMS

cr orsrRlcrs 2017_023335-CA-01

PLArNrrFF(s) vs. DEFENDANT(s) sEercE
OMAlRlLYS CRUZ APONTE AK|MA GLOBAL SERV|CES, LLC.

THE sTArE oF FLoRroA:

`l'o Each Sherlff of the State.'

YOU ARE COMMANDED to serve this summons and copy of the complaint or petition in this action on
defendant(s); AK|MA GLOBAL SERVICES, LLC.

c/o CT CORPORAT|ON SYSTEN|, Registerecl Agent
1200 South Plne island Road
Plantation, FL 33324

 

 

 

Nl )lOO`lQ

 

Each defendant is required to serve written defense to the complaint or petition on
plaintiffs Attomey; LlNDSAY MAR|E MASS|LLON, E$qi

 

 

 

 

Whose address is Eiss Nlassii|on, P.L.
7951 SW 601 Street, Sulte 308
Piantation, FL 33324

within 20 days " Exoegt when suit ls brought gursuant to s. 7¢:`~8.28l Fforlda Statute§, if the State of Floridal one of its agenciesl
or one of its officials or employees sued in his or her official capacig is a d§fendar\tll the time to respgnd shall be 40 days.

When suit is brou ht ursuant to. 76828 Florida Statutes the time to res end shall be 30 da ." after service of this summons

 

 

 

on that defendant , exclusive of the day of service, and to file the original of the defenses with the Clerk of this Clerk Court either before
service on Plaintiff`s attorney or immediately thereafter. |f a defendant fails to do so, a default will be entered against that defendant for
the relief demanded in the complaint or petition.

 

 

 

 

DATE
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AMERICANS WITH DISABILITIES ACT OF 1990
ADA NOTICE

“If you are a person with a disability who needs any accommodation in order to
participate in this proceeding, you are entitled, at no cost to you, to the provision of certain
assistance Please contact the Eleventh Judicial Circuit Court’s ADA Coo'rdinator, Lawson
E. Thomas Courthouse Center, 175 NW lst Ave., Suite 2702, Miami, `FL 33128, Telephone
(305) 349-7175; TDD (305) 349-7174, Fax (305) 349-7355 at least 7 days before your
scheduled court appearance, or immediately upon receiving this notification if the time
before the scheduled appearance is less than 7 days; if you are hearing or voice impaired,
call 711.”

CLK/CT. 314 Rev. 02/16 C|erl<‘s web address www.miami-dadeclerk.com

 

 

 

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E iN THE CiRCUlT COURT OF THE ELEVENTH JUD|CIAL CIRCU|T lN AND FOR |VliAM|-DADE COUNTY, FLOR|DA.
l:l lN THE COUNTY COURT lN AND FOR NllAM|-DADE COUNTY, FLORIDA.

 

 

 

 

D'V'S'ON summons 20 oAY coRPoRATE sEercE cASE NUMBER

lsi cier r::i 0THER (a) GENERAL FoRMS

r;r orsTchTs 2017-023335-CA-01

PLA\NTrFF(s) vs. DEFENDANT(s) sEercE
OMAlRILYS CRUZ APONTE AK|MA GLOBAL SERV|CES, l.LC.

 

 

 

THE STATE OF FLOR|DA:
To Each Sheriff of the State:

YOU ARE COMMANDED to serve this summons and copy of the complaint or petition in this action on
defendant(s); AK|MA GLOBAL SERV!CES, LLC.

c/o CT CORPORAT|ON SYSTEM, Registered Agent
1200 South Pine island Road
Plantation, FL 33324

 

 

Nl )‘|30`|0

 

Each defendant is required to serve written defense to the complaint or petition on
P|aintiffs Atwmey: LlNDSAY MARlE MASS|LLON, Esq~

 

 

 

 

whose address ;s; Eiss lviassi|lon, P.L.
7951 SW 6th Street, Suite 308
Plantation, Fi_ 33324

within 20 days “ Except when suit is brought pursuant to s. 7(.’»8.28l Ftorida Statuteal if the State of Florida, one of its agec'rc|esl
or one of its oft”icial§ gr employees sueg_ in his or her official capacity is a defendantl the time to respgnd shall be 40 days.
When suit is brought pursuant to. 768.28l Florida Statutes, the time to respond shall be 30 days." after service of this summons

on that defendant , exclusive of the day of service, and to file the original of the defenses with the C|erl< of this Cierk Court either before

 

 

 

service on P|aintiffs attorney or immediately thereafter. if a defendant fails to do so, a default will be entered against that defendant for
the relief demanded in the complaint or petition.

 

 

 

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AMERICANS WITH DISABILITIES A `
ADA NOTICE

 

“If you are a person with a disability who needs any accommodation in order to
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E. Thomas Cou.rthouse Center, 175 NW l“ Ave., Suite 2702, Miami, FL 33.128, Telephone
(305) 349-7175; _TDD (305) 349~7174, Fax (305) 349-7355 at least 7 days before your
scheduled court appearance, or immediately upon receiving this notification if the time
before the scheduled appearance is less than 7 days; if you are hearing or voice impaired,
call 711.”

CLK/CT. 314 Rev. 02/16 Clerk's web address: www.miami-dadeclerk.com

 

 

 

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